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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                              4:13CR00090-10 KGB-JJV

ZYPHRIA WATTS                                                                           DEFENDANT

                                               ORDER


        The Court having determined a transcript is necessary in the instant case, the clerk shall issue

a check to Ms. Robin Warbritton, in the amount of $205.40 for the invoice submitted.

        IT IS SO ORDERED, this 21st day of March, 2014.




                                                      _____________________________________
                                                      JOE J. VOLPE
                                                      UNITED STATES MAGISTRATE JUDGE
